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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:16CR344

       vs.
                                                                        ORDER
WILLIAM KNUDSEN,

                      Defendant.


       Defendant William Knudsen appeared before the court on October 13, 2017 on an
Amended Petition for Warrant or Summons for Offender Under Supervision [59]. The defendant
was represented by Assistant Federal Public Defender Michael J. Hansen, and the United States
was represented by Assistant U.S. Attorney Lecia E. Wright. Through his counsel, the defendant
waived his right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P.
32.1(a)(1). The government moved for detention. Through counsel, the defendant declined to
present any evidence on the issue of detention and otherwise waived a detention hearing. Since it
is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence
that he not a flight risk, the court finds the defendant has failed to carry his burden and that he
should be detained pending a dispositional hearing before Chief Judge Smith Camp.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.


       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on December 14, 2017 at 9:30 a.m. Defendant must be present in person.
       2.      The defendant, William Knudsen, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.




       Dated this 13th day of October, 2017.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge




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